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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                         :      CHAPTER 7
                                               :
ALL STAR HEALTH CARE, INC. A,                  :      CASE NO. 17-54115-SMS
GEORGIA CORPORATION,                           :
                                               :
           Debtor.                             :
                                               :

                       APPLICATION BY TRUSTEE FOR COMPENSATION

TO:      THE HONORABLE SAGE M. SIGLER
         UNITED STATES BANKRUPTCY JUDGE

         This Application of S. Gregory Hays, brought pursuant to Section 330 of the United States

Bankruptcy Code, respectfully shows that he is the duly-appointed and qualified Trustee in

Bankruptcy of the above-captioned Estate , that the assets of said Debtor have been liquidated, and

that there came into the hands of the undersigned Trustee for disbursement the total sum of

$18,628.56 of which $0.00 has been disbursed to the Debtor and the Trustee anticipates an

additional $0.00 will be distributed to the Debtor.

         In the administration of said Estate, your Applicant has performed March 6, 2017 through

September 24, 2020. The statutory allowance is the sum of $2,612.86, and Applicant has heretofore

received on his account compensation as Trustee in the sum of $0.00.

         Your Applicant has not in any form or guise agreed to share the compensation for such

services with any person not contributing thereto, or to share in the compensation of any person

rendering services in this proceeding to which services Applicant has not contributed. Your

Applicant has not entered into any agreement, written or oral, express or implied, with any other

party in interest or any attorney of any other party in interest in this proceeding for the purpose of
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fixing the amount of the fees or other compensation to be paid to any party in interest, or any

attorney of any party in interest herein for services rendered in connection therewith.

       On March 6, 2017 (the “Petition Date”), All Star Health Care, Inc. (“Debtor”) filed a

voluntarily petition under Chapter 7 of Title 11 of the United States Code (11 U.S.C. § 101, et seq.,

as amended, is hereinafter referred to as the “Bankruptcy Code”), initiating Case No. 17-54115-

SMS (the “Case”). Shortly thereafter, Trustee was appointed, and he remains, the duly acting

Chapter 7 trustee in this Case.

       Trustee and his professionals have undertaken extensive investigation and identification of

assets of the estate, have taken such steps as deemed appropriate for administration and protection

of the estate, and created an estate that totals approximately $18,000.00.

       Trustee and his professionals created this estate after recovering monies owed to the Debtor

by the State of Georgia, Department of Community Health.

       At the commencement of the Bankruptcy Case, a bankruptcy estate was created pursuant

to 11 U.S.C. § 541(a) (the “Bankruptcy Estate”), and that Bankruptcy Estate includes all Debtor’s

legal or equitable interests in property as of the commencement of the Bankruptcy Case and any

interest in property that the estate acquires after commencement of the Bankruptcy Case. 11

U.S.C. § 541(a)(1) and (7) (2015). Trustee is the sole representative of the Bankruptcy Estate. 11

U.S.C. § 323(a) (2015).

       Prior to the Petition Date, the Debtor performed services and expected payments from the

Department of Veterans Affairs (the “VA”). The US Government offset the amounts owed to the

Debtor for services provided to patients through the VA against taxes owed to the Internal Revenue

Service (the “IRS”) by the Debtor.
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       The Debtor’s officer was unsure of what amounts were offset by the IRS and what was

outstanding from the VA. Upon further investigating and discussions with various parties, the

setoff were determined to be appropriate and the Trustee reconciled the offsets, which ultimately

reduced the secured claim of the IRS against the assets of the Bankruptcy Estate. The reduced

secured claim of the IRS is reflected in proof of claim number 9.

       As said Trustee, your Applicant has or will pay in the final administration of the case out

of his own funds expenses totaling $436.27, none of which have been repaid and for which he

prays for reimbursement. Attached hereto marked as Exhibit “A” and incorporated herein by

reference is an itemization of Trustee’s expenses.

       The Internal Revenue Service has asserted a secured claim against the Debtor pursuant to

two liens filed on February 3, 2014 and April 4, 2014. After the setoffs described above, the

balance owed on the liens totals $34,542.86, which is the amount claimed on proof of claim

number 9. The IRS’s lien attaches to the recoveries of the Trustee.

       The Trustee and his professionals have incurred fees and expenses totaling $10,796.83.

Pursuant to11 U.S.C. 724(b), the Trustee surcharges the lien of the IRS for the cost to pursue its

collateral and the balance of the Bankruptcy Estate funds will be paid to the IRS.
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       WHEREFORE, S. Gregory Hays prays for such allowance for his services herein in the

amount of $2,612.86 plus reimbursement of expenses in the amount of $436.27 and as the Court

finds reasonable and just.

       Respectfully submitted this 24th day of September, 2020.

                                                     /s
                                                  S. Gregory Hays
Hays Financial Consulting, LLC                    Chapter 7 Trustee
2964 Peachtree Rd, N.W, Ste 555
Atlanta, Georgia 30305
404) 926-0060
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                               Hays Financial Consulting, LLC
                                        2964 Peachtree Road
                                              Suite 555
                                       Atlanta, GA 30305-2153

All Star Health Care, Inc.
Case # 17-54115-bem



                                For the Period from    3/6/2007   to 9/17/2020
September 17, 2020


                                                                                 Amount

               Expenses

  1/5/2018   2018 Blanket Bond Fee                                                  5.58
  1/4/2019   2019 Bond fee                                                          0.55
  1/9/2020   2020 Bond fee                                                          6.44
 9/17/2020   Case Closing Expenses:                                               423.70
             Copies NFR - 88 notices @ 6 pages @ $0.15 per copy - $79.20
             Postage NFR - 88 notices @ $0.50 per notice - $44.00
             Postage distribution checks - 1 checks @ $0.50 per check - $0.50
             Secure record destruction - $300.00

                   Subtotal                                                       436.27

               Total costs                                                       $436.27
